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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA,                      )
                                               )
v.                                             )       Criminal No. 19-10113-FDS
                                               )
LOUIS D. COLEMAN, III.                         )


                  DEFENDANT’S REPLY TO THE GOVERNMENT’S
               OPPOSITION TO HIS MOTION TO COMPEL DISCOVERY

       Defendant, Louis D. Coleman, III, replies to the government’s opposition to his motion to

compel. He will reply to the government’s sealed opposition in a separate sealed reply.

       The government has agreed to disclose the statement that Mr. Coleman made shortly after

his arrest to the Providence Police. It opposes the portions of Mr. Coleman’s motion that seeks

Jassy Correia’s criminal history information and the recordings and reports associated with law

enforcement’s interview of Ms. L.H.

                                             Summary

       The government takes no issue with the legal standard Mr. Coleman relied upon to support

his motion to compel. (Gov. Resp. at 2 (acknowledging its duty to provide mitigating information

under Brady)). Instead, the government’s opposition runs long on allegations that counsel for Mr.

Coleman relied upon an “extremely misleading”—or at times “not true”—recitation of the facts.

(See Gov. Resp. at 1, 16, and 17). Mr. Coleman stands behind his factual scenario.

       Despite the government’s accusatory tone, it either concedes or does not contest many of

the facts relied upon by Mr. Coleman to support his motion. The government’s opposition, then,

reveals no material factual disagreement. Application of these conceded or uncontested facts to the

agreed upon legal standard entitles Mr. Coleman to the evidence he has requested.




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I.     The Court should order the government to produce Jassy Correia’s criminal record
       information because it is mitigating.

       A defendant has a constitutional right to put before the jury as a mitigating factor any

circumstance of the offense that he proffers as a basis to a sentence less than death. (Motion at 5

(citing United States v. Tsarnaev, 968 F.3d 24, 68 (1st Cir. 2020) and Lockett v. Ohio, 438 U.S. 586,

604 (1978) (plurality op.)) The standard for what is mitigating information is broad and

“encompasses any evidence which tends to logically prove or disprove some fact or circumstance

which a fact-finder could reasonably deem to have mitigating value.” Motion at 5 (citing Tsarnaev,

968 F.3d at 68 and Smith v. Texas, 543 U.S. 37, 44 (2004). This “is why the normally low relevance

threshold in noncapital cases is lower still when it comes to mitigation evidence in capital cases …”

Tsarnaev, 968 F.3d at 68.

       The government does not dispute the relevant legal standard. (Gov. Resp. at 2). What it

disputes is whether Mr. Coleman has met that standard. (Gov. at 2 (“[T]here is no credible basis for

claiming that the requested information is Brady material”). Mr. Coleman disagrees.

       Mr. Coleman seeks Ms. Correia’s criminal history information because it supports the

position that the alleged offense was a sudden altercation rather than a planned and executed

stalking, kidnapping, and murder. A sudden altercation and a lack of a plan would mitigate against

the imposition of a death sentence. (Motion at 9). As explained below, the government does not

seriously dispute many of the facts that Mr. Coleman relied upon in his motion.

       The government does not dispute—as Mr. Coleman said in his motion—that Ms. A.H. told

law enforcement that Ms. Correia had a “habit of getting really drunk” and “messy” to the point of

being maced and physically pulled off people. The government also does not dispute that the

toxicology report which shows that Ms. Correia had alcohol, amphetamines, cocaine, and

cannabinoids in her system. It concedes that Ms. Y.M. told law enforcement they had “smoked”

earlier that day. (Gov. Resp. at 17). Despite the toxicology report and Ms. Y.M.’s statement that the
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two “smoked,” the government takes the position that Ms. Correia was “not in such a state that

night.” The government also disputes that Mc. Correia was visibly intoxicated. (Gov. Resp. at 16).

Mr. Coleman based his assessment upon Ms. Y.M.’s statement, the toxicology report, and the

surveillance video. (See Sealed Exh. LC 1444 (Ms. Correia with Uber); Sealed Exh. LC 1445-1447

(Ms. Correia and friends in the alleyway); Sealed Exh. A (Ms. Correia and friends leaving Venu)).

The government implies that Ms. Correia may have ingested substances while with Mr. Coleman,

but it has not disclosed evidence to support that conclusion.

       The government also does not dispute Ms. Y.M.’s statement to law enforcement that “the

liquor must have gotten the best of [Ms. Correia]” when she was arrested for fighting in Atlanta a

couple of month previous. (Motion at 8). Instead of contesting Y.M.’s statement by showing the

absence of alcohol and fighting related arrests, the government says that Ms. Correia “was not

responsible for any fighting on the night she was killed.” (Gov. Resp. at 17).

       However, the government does not materially dispute Mr. Coleman’s position that “Ms.

Correia and Ms. Y.M. engaged in verbal and physical altercations throughout the night” and that

“pushing and shoving occurred between the two.” Motion at 2.1 Evidence of this appears plainly on

surveillance footage.2 Additionally, the government says Mr. R.T. told law enforcement that Ms.

Correia and Ms. Y.M. had argued and “put[] hands on one another” that night. (Gov. Resp. at 7).

       Choosing to focus elsewhere, the government says that Ms. Correia and Ms. Y.M. went into

Venu’s bathroom and when they returned Ms. Y.M. was angry while Ms. Correia was “cool.” (Gov.

Opp. at 7). No surveillance video has been produced from the bathroom. Mr. Coleman assumes




1
 What the government disputes is what it says is “the clear implication” made by Mr. Coleman that
“the victim was at least equally, if not primarily, responsible for the physical altercation.” (Gov.
Resp. at 3; Id. at 14).


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there is none. Accordingly, the parties cannot readily confirm if an altercation occurred in the

bathroom, and if so, which of the two women acted as the aggressor.

        However, the altercations that Mr. Coleman relied upon in his motion occurred in the

alleyway and on Tremont Street, well after the possible bathroom incident. Surveillance cameras

captured those incidents with Ms. Correia wearing bright orange pants that were part of a body suit.

They arose in fits and starts with each woman acting in a way that can be credibly described as

aggressive.

        For instance, at one point in the alleyway, Ms. Correia and Ms. Y.M. can be seen yelling at

each other, then Ms. Y.M. shoves Ms. Correia and Ms. Correia kicks off her high-heeled shoes and

yells at Ms. Y.M. (Sealed Exh. LC 1446 at 2:11:30 a.m.). Ms.

        The government agrees saying, “It is true” that “the victim kicked off her shoes, and that she

and Y.M. had an angry conversation.” (Gov. Resp. at 8; 14). The government also notes that Ms.

Correia “had had enough and was going to fight.” (Gov. Resp. at 7).

        The government also does not materially dispute what happened a few moments later. While

still in the alleyway, Ms. Y.M. turned in the opposite direction and walked away from Ms. Correia.

(Sealed Exh. LC 1446 at 2:11:28 a.m. to 2:11:40 a.m.). Rather than let her go, Ms. Correia followed

her and grabbed Ms. Y.M.’s arm. (Sealed Exh. LC 1446 at 2:11:42 a.m. to 2:11:44 a.m.).

        The government mostly agrees saying that “Y.M. turned around and walked back down the

alley” and “the victim followed” her. (Gov. Resp. at 8).

        What happens thereafter is also notable. Ms. Y.M. is backed up against the outside of a

building that abuts the alleyway. Ms. Correia stands in front of her. The two appear to exchange

angry words. (Sealed Exh. LC 1447 at 2:12:39 a.m. to 2:13:20 a.m.). Ms. Y.M. again turns to leave,

and Ms. Correia again follows her. (Id).




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        Thus, the accusatory tone aside, the government’s opposition produces no material

disagreement with Mr. Coleman’s assertion that “Ms. Correia and Ms. Y.M. engaged in verbal and

physical altercations throughout the night” and that “pushing and shoving occurred between the

two.” Motion at 2.

        The government also concedes, or does not contest, much of Ms. Correia’s interaction with

the Uber driver. Once Ms. Correia and Ms. Y.M. parted ways on Tremont Street, Ms. Correia

approached an Uber that had been idling curbside. (Gov. Opp. at 9; Motion at 2-3). The

government concedes that Ms. Correia “tapp[ed],” “knock[ed],” and “slapped” the Uber’s window

(Gov. Opp. at 10, 11). It also agrees that she “appeared to try to open the rear passenger-side door”

(Gov. Opp. at 10) and that she ultimately “opened the front passenger-side door and entered the

Uber.” (Gov. Opp. at 10-11). The government also seems to concede that Ms. Correia had not

hailed the Uber: “It is true that she tried to persuade the Uber driver to drive her, and in so doing

both said she would call the police and that she was going to make him her Uber driver.” (Gov.

Opp. at 15-16). In further agreement with Mr. Coleman, the government says, “[S]he did get into the

front passenger seat, where she remained for all of nine seconds before the Uber driver pushed her

out onto the sidewalk and closed the door.” Once outside the Uber, Ms. Correia threw something at

the Uber’s front window that the government thinks was snow. (Gov. Opp. at 11).

        Immediately thereafter, Ms. Correia and Mr. Coleman met on the sidewalk, spoke, and

walked away together. (Sealed Exh. LC 1444 at 2:16:43 a.m.). Ms. Correia did not have shoes on her

feet. Mr. Coleman gave her a piggyback ride to his car. (Sealed Exh. LC 1481).3 The government




3
 Another couple on surveillance video can be seen with the woman being carried piggyback style on
the man’s back. (Sealed Exh. LC 1444 at 02:12:28 a.m. to 02:12:32 a.m.).


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incorrectly says Mr. Coleman utilized a fireman’s carry to transport Ms. Correia. A fireman’s carry is

a distinctly different maneuver that arguably suggests the subject is incapacitated.4

         Finally, the government concedes that Mr. Coleman presented with injuries after his arrest

(Gov. Opp. at 2) and that Ms. Y.M. told law enforcement that she had injuries. (Gov. Opp. at 3).

Ms. Y.M. told law enforcement that, “[B]y that time, I had a black eye, I had a red mark under my

eye, I have scratches on my back like I was dragged out of a vehicle.” (LC 1821 at 17:05 to 17:12).

“Like, I was assaulted.” (LC 1821 at 17:16 to 17:17). Thus, the fact of injury is not contested. What

the government contests is how and when the injuries occurred. (Gov. Opp. at 17-18). The

government says it “believes [Ms. Y.M.] was indicating she sustained these injuries during her

interaction with A.H. and R.T.” (Gov. Opp. at 17). However, law enforcement asked her, “Okay, do

you think it was from your fight with [Ms. A.H.], or you don’t know?” (LC 1821 at 17:17 to 17:21)

Ms. Y.M. responded, “Now, okay, so, I don’t wanna say because I don’t remember that, you know.”

(LC 1821 at 17:21 to 17:28).

         Mr. Coleman concedes that in his motion he said Ms. Y.M. acknowledged her fighting with

Ms. Correia. That assertion was mistaken. The mistake is not material, however, because surveillance

video plainly shows the two engaging in physical and verbal altercations.

         Application of the above conceded or uncontested facts to the agreed upon legal standard

shows that the government should produce Ms. Correia’s criminal history information. To prevail at

the discovery stage, Mr. Coleman must show that the evidence he seeks tends to logically prove or

disprove some fact or circumstance which a fact-finder could reasonably deem to have mitigating

value. See Motion at 5 (citing Tsarnaev, 968 F.3d at 68 and Smith, 543 U.S. at 44). His position is

that a sudden altercation occurred and that he did not plan and then execute a stalking, kidnapping,

and murder.


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    https://www.youtube.com/watch?v=dCQh1K6m1V8
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       If Ms. Correia has an arrest record associated with being under the influence and getting into

altercations—as both Ms. A.H. and Ms. Y.M. suggest—then that evidence tends to logically prove

that a sudden altercation may have occurred on the night of her murder. Especially where discovery

shows that: (1) Ms. Correia had multiple intoxicating substances in her system; (2) Ms. A.H. said that

Ms. Correia had a habit of getting really drunk and messy to the point of being maced and physically

pulled off people; (3) Ms. Correia and Ms. Y.M. had—after drinking and smoking—engaged in

verbal and physical altercations; and (4) Ms. Correia and an Uber driver had an altercation that

resulted in her being push torso-first out of the Uber and landing on the sidewalk. A fact-finder

could reasonably deem this information to mitigate against the imposition of a death sentence

because it tends to explain that no plan to stalk, kidnap, and then murder Ms. Correia existed.

Notably, the government cites no cases to counter those cited by Mr. Coleman wherein a court

ordered the government to produce the victim’s criminal history information.

       In the end, the government opposed Mr. Coleman’s request for Ms. Correia’s criminal

history information by saying he had relied upon an extremely misleading or not true version of the

facts. However, once scrutinized, the government’s opposition concedes or does not contest the

existence of most of the facts that Mr. Coleman relied upon. While the government may choose to

tell a different narrative with the facts, it should not prevent Mr. Coleman from presenting his

narrative based that is based on those same facts; especially where the “normally low relevance

threshold in noncapital cases is lower still when it comes to mitigation evidence in capital cases …”

Tsarnaev, 968 F.3d at 68.

II.    The Court should order the government to produce the reports memorializing law
       enforcement’s interview with Ms. L.H. because it is mitigating and may help defeat
       an element of the offense.

       Mr. Coleman believes the same standard from above applies to Ms. L.H.’s statements to law

enforcement. The government, however, first raises two contradictory defenses. Initially, it suggests


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that Mr. Coleman is not entitled to witness statements until after that witness’s direct testimony.

(Gov. Opp. at 19 (citing U.S.C. § 3500, the Jencks Act)).

        The Jencks Act cannot justify the government’s nondisclosure of exculpatory information.

Due process requires the government to disclose information favorable to the accused when the

information is material to either guilt or punishment. The Jencks Act is inconsistent with due

process where the exculpatory information is contained within witness statements or reports. See

United States v. Snell, 899 F. Supp. 17, 21 (D. Mass. Aug. 25, 1995) (Gertner, J.). “In seeking to

harmonize the Jencks Act and Brady,” due process prevails. Id. (“[I]t makes no sense to indulge in a

crabbed interpretation of a constitutional right, like Brady, and an expansive interpretation of a

statutory one, like Jencks.”); see also, United States v. O’Brien, 2013 WL 1057928 at *5 (D. Mass.

Mar. 13, 2013, unrep.) (Sorokin, M.J.) (“To the extent such information is exculpatory within the

meaning of Brady or Local Rule 116.2(a), the government must produce the information pursuant to

the deadline established in this Order, rather than the later time of Jencks disclosure); United States

v. Owens, 933 F.Supp. 76, 79 (D. Mass. June 24, 1996) (Young, D.J.); Ferrara v. United States, 384

F. Supp.2d 384, 425 & n.20 (D. Mass. April 12, 2005) (Wolf, D.J.); United States v. Perry, 37 F.

Supp.3d 546, 560-61 (D. Mass Aug. 1, 2014) (Casper, D.J.).

        Other courts have agreed with courts from this district. See e.g., United States v. Trie, 21

F.Supp. 2d 7, 26 (D.D.C. July 17, 1998) (Friedman, D.J.); United States v. McVeigh, 923 F. Supp.

1310, 1315 (D. Colo. Apr. 29, 1996) (Matsch, C.J.); United States v. Starusko, 729 F.2d 256, 265 (3rd

Cir. 1984) (“Where a [district] court has ruled that impeachment material falls more under Brady,

instead of or in addition to, the Jencks Act, and orders it disclosed, the defendant has received a

guarantee of protection.”).

        After raising the Jencks Act, the government suggests that witness statements memorialized

in law enforcement reports are outside the Jencks Act. (Gov. Opp. at 19 (“And here the document is


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not even the statement of L.H. in any event: it is the statement of an FBI agent regarding what he

understood L.H. to have said.”)) The government is mistaken. The definition of a statement includes

“a substantially verbatim recital of an oral statement” which would include statements memorialized

within law enforcement reports. See 18 U.S.C. § 3500(e)(2). The government’s position does beg the

question, “If L.H.’s statement is not Jencks material then under what theory does it decline to

produce it?”

          Mr. Coleman and Ms. L.H. had not met before seeing each other in Venu. Thus, her

statement to law enforcement could only cover their interaction while in the club and the few text

messages they exchanged afterwards. The text messages have been produced. Mr. Coleman believes

that L.H.’s statement will include an explanation of the interaction inside the club, including whether

he was interacting with, lingering around, or stalking Ms. Correia and her statement will illustrate

that their interaction inside the club was typical of club goers—they talked and danced. (See Sealed

Exh. B, video of Mr. Coleman and Ms. L.H. interacting inside Venu). This information tends to

logically show that the offense was not a planned stalking, kidnapping, and murder. The lack of a

planned stalking, kidnapping, and murder could reasonably be deemed to mitigate against a death

sentence. See Motion at 5 (citing Tsarnaev, 968 F.3d at 68 and Smith v. Texas, 543 U.S. 37, 44

(2004).

          The government also counters Mr. Coleman’s position saying no one has alleged that the

defendant stalked Ms. Correia while inside venue. The elements of kidnapping include an unlawful

inveiglement or an unlawful decoy and the government alleges these elements in its indictment.

(D.E. 15). Moreover, the government seems to rely on these elements in its opposition. (See Gov.

Opp. at 4 (noting that Mr. Coleman watched from the sidewalk on Tremont Street for 40 seconds as

Ms. Correia interacted with the Uber); at 19 (“What the defendant did on Tremont Street when he

saw the victim was having trouble getting home is another matter.”)).


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       The facts that Mr. Coleman did not interact with, linger around, or stalk Ms. Correia while

inside Venu logically counters the inveiglement and decoy elements of the kidnapping offense, and

therefore, the information is exculpatory as to an element of the offense charged.

       Finally, the government confuses the couple’s interaction while inside the club with the

texting that occurred after leaving the club.5 The texting that occurred afterwards does not speak to

the details of their interaction inside the club. Ms. L.H.’s statement to law enforcement does.

                                              Conclusion

       For the foregoing reasons the Court should grant Mr. Coleman’s motion for discovery and

order the government to disclose Jassy Correia’s criminal record information and law enforcement

reports memorializing Ms. L.H.’s statement.

                                               LOUIS D. COLEMAN, III
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5
 The media, in reporting about this discovery-based litigation, has inaccurately said that Ms. L.H.
and Ms. Correia were friends. (See https://www.bostonglobe.com/2020/09/11/metro/man-
charged-death-jassy-correia-texted-her-friend-after-allegedly-strangling-her-prosecutors-say/). The
government has not produced discovery indicating any relationship between the two women.
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                                  CERTIFICATE OF SERVICE

        I, Wade Zolynski, hereby certify that this document filed through the ECF system will be
sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) on September 21, 2020.

                                               /s/ Wade Zolynski
                                               Wade Zolynski




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